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                        IN THE UNITED STATES DISTRICT COURT
                       FOR WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,

                                         Plaintiff,
                                                      CIVIL ACTION NO. 2:22-CV-547(MJH)
                v.

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III, ARIAS
AGENCIES, S.A. ARIAS HOLDINGS, LLC,
AMERICAN INCOME LIFE INSURANCE
                                                      ELECTRONICALLY FILED
COMPANY,

                                      Defendants.


                                   CERTIFICATE OF SERVICE

        I hereby certify that on this date a true and correct copy of the foregoing Motion for

Admission Pro Hac Vice of Anne R. Dana was served by Electronic Court Filing (ECF) and/or

first class mail to all parties of record.




DATED: February 15, 2024
                                                       ____________________________
                                                       Anne R. Dana
                                                       State Bar No. 5011366
                                                       King & Spalding LLP
                                                       1185 Avenue of the Americas
                                                       34th Floor
                                                       New York, NY 10036
                                                       212-556-2100 (Phone)
                                                       212-556-2222 (Fax)
                                                       Email: adana@kslaw.com
